  Case 3:19-bk-30822                         Doc 77    Filed 07/24/19 Entered 07/24/19 12:15:37                               Desc Main
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                                                   UNITED ST ATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF OHIO                               2019 , UL 2t1         MII : 0 I
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                                  USE ADDITIONAL SHEET(S) FOR ADDITIONAL WITNESSES
